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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                   )
    In re:                                                         )   Chapter 11
                                                                   )
    SURGALIGN HOLDINGS, INC., et al.1                              )   Case No. 23-90731 (CML)
                                                                   )
                              Debtors.                             )   (Jointly Administered)
                                                                   )

                    NOTICE OF CLOSING OF SALE OF THE DEBTORS’
                DIGITAL HEALTH BUSINESS ASSETS TO AUGMEDICS, INC.

       PLEASE TAKE NOTICE that on June 30, 2023, the United States Bankruptcy Court for
the Southern District of Texas (the “Bankruptcy Court”) entered the Order (A) Establishing
Bidding Procedures for the Sale of Substantially All of the Debtors’ Assets, (B) Authorizing the
Debtors’ Entry Into Stalking Horse Agreement, (C) Establishing Procedures for the Assumption
and Assignment of Certain Executory Contracts and Unexpired Leases, (D) Approving the Form
and Manner of Related Notices, (E) Scheduling a Hearing to Consider the Proposed Sale, and
(F) Granting Related Relief [Docket No. 137] (the “Bid Procedures Order”).2

        PLEASE TAKE FURTHER NOTICE that on July 28, 2023, in accordance with the Bid
Procedures Order, the Debtors filed the Notice of Successful Bidder and Back-Up Bidder with
Respect to the Auction of the Debtors’ Assets [Docket No. 290], which, among other things,
provided notice that Augmedics, Inc. (“Augmedics”) was the Successful Bidder for the Debtors’
Digital Health Business Assets.

       PLEASE TAKE FURTHER NOTICE that on August 8, 2023, the Debtors filed the
Notice of New Successful Bidder for the Sale of Certain of the Debtors’ Digital Assets [Docket
No. 316], which, among other things, provided notice that Surgical Theater, Inc. was the
Successful Bidder for the Digital Health Business Assets.

      PLEASE TAKE FURTHER NOTICE that on August 9, 2023, the Debtors filed the
Amended Notice of Successful Bidder for the Sale of Certain of the Debtors’ Digital Assets [Docket


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     The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
     number (if any), are: Surgalign Holdings, Inc. (0607); Surgalign Spine Technologies, Inc. (6543); Pioneer
     Surgical Technology NewCo Inc.; Spinal Transition and Professional Services LLC; Andi’s Belmarall, LLC;
     Fourth Dimension Spine, LLC (1107); Holo Surgical Inc. (4079); and HoloSurgical Technology Inc. (0952).
     The location of the debtors’ service address in these chapter 11 cases is: 520 Lake Cook Road, Suite 315,
     Deerfield, Illinois 60015.
2
     Capitalized terms not otherwise defined herein have the meanings ascribed in the Bid Procedures Order, Bid
     Procedures [Docket No. 139], or the Sale Order, as applicable.
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No. 330], which provided notice that Augmedics was selected as the Successful Bidder for the
Digital Health Business Assets.

       PLEASE TAKE FURTHER NOTICE on August 10, 2023, the Sale Hearing to consider
approval of the sale to Augmedics was held before the Bankruptcy Court, during which the
Bankruptcy Court approved the sale.

        PLEASE TAKE FURTHER NOTICE that, on August 10, 2023, the Bankruptcy Court
entered the Order (I) Authorizing and Approving the Sale of Certain of the Debtors’ Digital Health
Business Assets to Augmedics, Inc. Free and Clear of All Liens, Claims, Encumbrances, and
Interests; (II) Authorizing the Sale Transaction; and (III) Granting Related Relief [Docket
No. 338] (the “Sale Order”). The Asset Purchase Agreement, dated as of August 9, 2023, by and
among Augmedics and the Debtors, is attached as Exhibit A to the Sale Order.

      PLEASE TAKE FUTHER NOTICE that the Closing of the sale to Augmedics occurred
on August 11, 2023.

         PLEASE TAKE FURTHER NOTICE that copies of all documents filed in these
chapter 11 cases may be obtained from the Debtors’ claims and noticing agent, Kroll Restructuring
Administration LLC, by (i) visiting the case website at https://restructuring.ra.kroll.com/surgalign,
(ii) calling Kroll toll-free at (833) 939-6015 (or (646) 440-4843 for calls originating outside of the
U.S.), or (iii) sending an email to surgaligninfo@ra.kroll.com.




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Houston, Texas
August 11, 2023

/s/ Veronica A. Polnick
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                                             Proposed Counsel to the Debtors and
                                             Debtors in Possession
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                                     Certificate of Service

        I certify that on August 11, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                       /s/ Veronica A. Polnick
                                                       Veronica A. Polnick
